Case 9:22-mj-08332-BER Document 82 Entered on FLSD Docket 08/22/2022 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-MJ-8332-REINHART



  IN RE: Sealed Search Warrant
  __________________________________________/


                                            ORDER

         THIS CAUSE is before the Court on the Intervenors’ request to unseal certain entries on

  the docket. The Government does not oppose the unsealing (ECF No. 81), and therefore, the

  Intervenors’ request is GRANTED. It is hereby ORDERED that ECF Nos. 15, 16, 55, and 56 shall

  be unsealed by the Clerk of Court.

         DONE AND ORDERED in Chambers at West Palm Beach, Florida this 22nd day of

  August, 2022.




                                                    __________________________________
                                                    HON. BRUCE E. REINHART
                                                    UNITED STATES MAGISTRATE JUDGE
